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                                UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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       Genevieve Morton, an individual,         Case No. CV 20-10434-GW-KSx
 12                                             (c/w CV 21-7145-GW-KSx)
                   Plaintiff,
 13                                             JUDGMENT
             vs.
 14
    X Corp., a Nevada corporation,
 15 successor in interest to Twitter, Inc, et   The Hon. George H. Wu
    al.,
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                 Defendants.
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                                                             Case No. 2:20-cv-10434 (c/w 2:21-cv-07145)
                                       [PROPOSED] JUDGMENT
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   1        Defendant X Corp. successor in interest to Twitter, Inc., requested the Court
   2 to enter a separate judgment under Federal Rule of Civil Procedure Rule 58 for
   3 Twitter to enforce Plaintiff’s and her attorney Jennifer Holliday’s unpaid sanctions
   4 award. Dkt. 229.
   5        The Court, having GRANTED the request, and good cause appearing
   6 therefor, IT IS HEREBY ADJUDGED, ORDERED, AND DECREED THAT:
   7        1.     Plaintiff Genevieve Morton and her counsel Jennifer Holliday are in
   8 contempt of Court for failing to comply with the Court’s October 3, 2022 Revised
   9 Contempt Order (Dkt. 221);
 10         2.     X Corp. shall recover from Genevieve Morton and Jennifer Holliday as
 11 follows:
 12                a.    $121,421.43, which includes the $112,531.43 underlying
 13 monetary sanction plus $35 per day from November 1, 2022 through July 13, 2023,
 14 the date of the Order granting X Corp.’s Motion for Contempt (“Effective Date”);
 15                b.    $100 per day from Effective Date through the date when the
 16 judgment is fully satisfied, plus all costs and attorneys’ fees that X Corp. incurs in
 17 connection with obtaining full satisfaction of the Judgment;
 18                c.    Post-judgment interest at the applicable federal rate on the
 19 amount of judgment.
 20         3.     Genevieve Morton and Jennifer Holliday are each separately liable for
 21 one-half of the total amount of the Judgment.
 22         The clerk is ORDERED to enter this JUDGMENT forthwith.
 23
 24 DATED: July 19, 2023
                                                             Hon. George H. Wu
 25                                                       United States District Judge
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                                              -2-            Case No. 2:20-cv-10434 (c/w 2:21-cv-07145)
                                       [PROPOSED] JUDGMENT
